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                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

In Re:                          Case No. 8:24-bk-05243-CPM
XAVIER CHARLES ALEXANDER WASHINGTON II        Chapter 13
            Debtor.
_________________________/

               OBJECTION TO CLAIM #9 OF LTD ACQUISITIONS, LLC

                            NOTICE OF OPPORTUNITY TO
                         OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of
Court at 801 N. Florida Ave, Ste 555, Tampa, FL 33602, and if the moving party is not
represented by an attorney, mail a copy to the moving party at Law Offices of Robert M.
Geller, P.A., Attn: Kelley M. Petry, Esq., 807 W. Azeele St, Tampa, FL 33606 within 30 days
from the date of the attached proof of service, plus an additional three days if this paper
was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you
of a hearing date or the Court will consider the response and grant or deny the relief
requested in this paper without a hearing. If you do not file a response within the time
permitted, the Court will consider that you do not oppose the relief requested in the paper,
and the Court may grant or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have
one. If the paper is an objection to your claim in this bankruptcy case, your claim may be
reduced, modified, or eliminated if you do not timely file and serve a response.

     Debtor, by and through the undersigned attorney, file this Objection to Claim #9 of LTD
ACQUISITIONS, LLC and states the following:

       1.     This case was instituted by the filing of a Voluntary Petition under Chapter 13 of
the Bankruptcy Code on September 3, 2024.

       2.      On October 15, 2024, LTD ACQUISITIONS, LLC filed Proof of Claim #9
(“Claim”) in the unsecured amount of $780.98, account #2172.

       3.      Debtor objects to the Claim on the basis that enforcement of the debt is time
barred by the statute of limitations pursuant to Florida Statute 95.11(2)(b). An action on a
contract founded on a written instrument has an enforcement period of five (5) years.

       4.      The attachment to the claim reflects the last transaction date as 12/1/2016. This
exceeds five years from the date of filing of the instant case.

        5.      Based on the foregoing, it would be appropriate for this Court to enter an order
sustaining this Objection and disallowing Claim #9 of LTD ACQUISITIONS, LLC                 .
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       WHEREFORE, Debtor respectfully requests that this Court enter an order sustaining
this Objection and disallowing Claim #9 of LTD ACQUISITIONS, LLC.

                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished by U.S. Mail or
electronic filing notice to Jon Waage, Chapter 13 Trustee; Xavier Washington, Debtor, 6211 S
Macdill Ave, Unit 1, Tampa, FL 33611; LTD ACQUISITIONS, LLC, 16225 Park Ten Place,
Ste 500, Houston, TX 77084; by certified mail to LTD ACQUISITIONS, LLC, c/o David John,
CEO, 16225 Park Ten Place, Ste 500, Houston, TX 77084; LTD ACQUISITIONS, LLC, 3200
Wilcrest, Ste 600, Houston, TX 77042; LTD ACQUISITIONS, LLC, c/o registered agent CT
Corporation System, 1200 S Pine Island Rd, Plantation 333245; this 28 th day of November,
2024.

                                                  _____/s/ Kelley M. Petry_____________
                                                  Kelley M. Petry, Esq. Fl Bar No 0388180
                                                  Law Offices of Robert M. Geller, P.A.
                                                  807 W. Azeele St.
                                                  Tampa, FL 33606
                                                  (813) 807-3449
                                                  email: kpetry@robertgellerlaw.com
